          Case: 23-2971      Document: 4      Page: 1     Date Filed: 11/02/2023




        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                                 Nos. 23-2971 & 23-2972



                              In Re: LTL Management LLC
                (D.N.J. Nos. 23-12825; 3-23-cv-10979; & 3-23-cv-17597)



                                         ORDER



      The appeals at Nos. 23-2971 and 23-2972 are hereby consolidated for purposes of
scheduling, joint appendix, and disposition. Appellants are encouraged to consult with
one another regarding the contents of their briefs as the Court disfavors repetitive briefs.
The parties may file a consolidated brief or join in or adopt portions by reference. See
Fed. R. App. P. 28(i). Appellees may elect to file a consolidated brief.

      The parties are hereby directed to electronically file documents on the Court’s
docket as follows:

        Appellants: All case opening forms, motions, and briefs must be filed only in the
appeal number assigned to the filer’s notice of appeal. If a document is being filed
jointly by multiple appellants, the document must be filed only in the appeal numbers
assigned to the filing appellants.

        Appellees: All case opening forms must be filed in all appeals in which the
appellee intends to participate. All motions should be filed only in those cases for which
the relief is being requested. All responsive briefs should be filed only in the appeal to
which the appellee is responding. If the appellee is filing a consolidated response brief,
the brief must be filed in all appeals to which the appellee is responding.

       The consolidated joint appendix must be filed in all appeal numbers.

        The parties are advised that case opening forms for later filed appeals must only be
filed in the new appeals and not re-filed in earlier appeals in which the forms were
previously filed.
          Case: 23-2971     Document: 4      Page: 2     Date Filed: 11/02/2023




        The parties are further advised that failure to file documents in the appropriate
case may result in the issuance of a noncompliance order. If any party is unsure how to
file a particular document, he or she should call the case manager prior to filing the
document.



For the Court,

s/ Patricia S. Dodszuweit
Clerk


Dated: November 2, 2023
